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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

ANTHONY A. NASH, )
Plaintiff, l
v. § Civ. Action No. 18-640-GMS
KOLAWOLE AKINBAYO, et al., §
Defendants. §
MEMORANDUM

I. INTRODUCTION

The plaintiff, Anthony A. Nash (“Nash”), an inmate at the Howard R. Young
Correctional Institution (“HRYCI”) in Wilmington, Delaware, iiled this lawsuit pursuant to 42
U.S.C. §§ 1983, 1985, and 1986 and 18 U.S.C. § 241, alleging violations of his constitutional
rights. (D.l. 1.) He appears pro se and was granted permission to proceed in forma pauperis
pursuant to 28 U.S.C. § 1915.
II. BACKGROUND

Nash submitted a grievance which resulted in an informal resolution on February 12,
2016. Nash considers the informal resolution a contract among himself, the State of Delaware
and the HRYCI. Nash alleges that the HRYCI Classification Department agreed that it Would

not classify Nash into the dormitory setting of the Key Pro gram.1

 

l The Key Visions Program is the first component of Delaware’s substance abuse
treatment regimen for offenders With a history of substance abuse. Key Visions is a prison based
therapeutic community with a total treatment environment that is discipline based, intense and
isolated from the rest of the prison population See http://www.doc.delaware.gov/vieWs/hryci.
blade.shtml (last visited July 23, 2018).

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On October 4, 2016, Nash filed a civil rights action (“2016 action”) against the defendant
Connections CSP, Inc. (“Connections”), several Connections employees, and three Delaware
Department of Correction (“DOC”) employees On December 19, 2017, this court denied a
motion to dismiss filed by Connections and its employees in the 2016 action. On February 16,
2018, Nash was classified to minimum security level. On February 23, 2018, the Institutional
Based Classiiication Committee (“IBCC”) removed Nash’s work status. Nash alleges that on
February 23, 2018 the defendants conspired and intentionally breached his contract with the
State of Delaware. He alleges they retaliated against him because the action taken against him
occurred just a few days after he received discovery in the 2016 action.

On February 27, 2018, Nash was removed from the jail honor pod and, on March 1,
2018, transferred to a transition pod. On March 6, 2018, Nash received his classification
notification that his work status was removed, and he was classified to “Key North.” Nash
alleges his classification to Key North violated his right to due process, and the defendants
exhibited deliberate indifference to his serious medical needs when they placed him in a donn
with the intent to cause serious physical injury2

Nash alleges that the defendant Warden Kolawole Akinbayo (“Akinbayo”) knew of his
claims because Nash reached out to the warden by letter, grievances, and an appeal, but
Akinbayo completely ignored him. Nash also alleges that Akinbayo has veto power of all
classification programs.

On March 6, 2018, Nash submitted a grievance asking why the informal resolution was

not being enforced. Nash alleges that the defendant Cpl. Grose (“Grose”) assured him the

 

2 Nash appears to base this on an expert opinion used in the informal resolution of Nash’s
2016 grievance that Nash “would deteriorate psychologically in a crowded environment such as
the dorms.” (D.I. 1 at 5.)

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informal resolution would be enforced. Grose contacted Mental Health about the issue. Nash
alleges that Grose had a duty to enforce all prior grievances, but he did not.

Nash, who was in the prison infirmary, was seen by the defendant Dr. David M. August
(“Dr. August”) on March 7, 2017. Nash alleges that the visit lasted only two minutes and that
Dr. August told Nash that, “because you don’t take meds, Mental Health cannot help you.” Nash
states that he does take not medication for his diagnosed agoraphobia and panic disorder because
they make him tired or “zombie-like.” Nash alleges that Dr. August conspired with the
defendants in the 2016 action in an attempt to hurt him mentally and physically. Nash alleges
that all the defendants conspired and retaliated against him for seeking redress from the courts,
and they are collectively deliberately indifferent to his serious medical needs because they
“intentionally breach[ed] their contract [] with the intent to do harm.”

Connections runs or manages the Key Prograrn. Plaintiff alleges that the State of
Delaware and/or Connections intentionally used the Key Program as a weapon to deter or harm
inmates. Nash was moved to Donnitory One of the Key Nortli Program on March 20, 2018, He
alleges that he was threatened with “the hole” and loss of good time if he did not sign the papers
“to do the Key Program.”

He seeks compensatory and punitive damages, as well as injunctive relief.

III. STANDARD OF REVIEW

A federal court may properly dismiss an action sua sponte under the screening provisions
of 28 U.S.C. § 1915(e)(2)(B) and § 1915A(b) if` “the action is frivolous or malicious, fails to
state a claim upon Which relief may be granted, or seeks monetary relief from a defendant Who is
immune from such relief.” Ball v. Famiglio, 726 F.3d 448, 452 (3d Cir. 2013); see also 28

U.S.C. § 1915(e)(2) (in forma pauperis actions); 28 U.S.C. § 1915A (actions in which prisoner

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seeks redress from a governmental defendant); 42 U.S.C. § 1997e (prisoner actions brought with
respect to prison conditions). The court must accept all factual allegations in a complaint as true
and take them in the light most favorable to a pro se plaintiff Phillips v. Counzy of Allegheny,
515 F.3d 224, 229 (3d Cir. 2008); Ericlcs'on v. Pardus, 551 U.S. 89, 93 (2007). Because Nash
proceeds pro se, his pleading is liberally construed and his complaint, “however inartfiilly
pleaded, must be held to less stringent standards than formal pleadings drafted by lawyers.”
Erickson v. Pardus, 551 U.S. at 94 (citations omitted).

An action is frivolous if it “lacks an arguable basis either in law or in fact.” Neitzke v.
Williams, 490 U.S. 319, 325 (1989). Under 28 U.S.C. § 1915(e)(2)(B)(i) and § 1915A(b)(1), a
court may dismiss a complaint as frivolous if it is “based on an indisputably meritless legal
theory” or a “clearly baseless” or “fantastic or delusional” factual scenario. Neitzke, 490 at 327-
28; Wilson v. Rackmill, 878 F.Zd 772, 774 (3d Cir. 1989); see, e.g., Deutsch v. Um'ted States, 67
F.3d 1080, 1091-92 (3d Cir. 1995) (holding frivolous a suit alleging that prison officials took an
inmate’s pen and refused to give it back).

The legal standard for dismissing a complaint for failure to state a claim pursuant to
§ 1915(e)(2)(B)(ii) and § 1915A(b)(1) is identical to the legal standard used when ruling on Rule
12(b)(6) motions Tourscher v. McCullough, 184 F.3d 236, 240 (3d Cir. 1999) (applying Fed. R.
Civ. P. 12(b)(6) standard to dismissal for failure to state a claim under § 1915(e)(2)(B)).
I-lowever, before dismissing a complaint or claims for failure to state a claim upon which relief
may be granted pursuant to the screening provisions of 28 U.S.C. §§ 1915 and 1915A, the court
must grant Nash leave to amend his complaint unless amendment would be inequitable or futile.

See Grayson v. Mayview State Hosp., 293 F.3d 103, 114 (3d Cir. 2002).

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A well-pleaded complaint must contain more than mere labels and conclusions. See
Ashcroji v. Iqbal, 556 U.S. 662 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007). A
plaintiff must plead facts sufficient to show that a claim has substantive plausibility. See
Johnson v. Ciiy of Shelby, _U.S._, 135 S.Ct. 346, 347 (2014). A complaint may not dismissed,
however, for imperfect statements of the legal theory supporting the claim asserted. See id. at
346.

Under the pleading regime established by Twombly and Iqbal, a court reviewing the
sufficiency of a complaint must take three steps: (1) take note of the elements the plaintiff must
plead to state a claim; (2) identify allegations that, because they are no more than conclusions,
are not entitled to the assumption of truth; and (3)'when there are well-pleaded factual
allegations, the court should assume their veracity and then determine whether they plausibly
give rise to an entitlement to relief. Connelly v. Lane Const. Corp., 809 F.3d 780, 787 (3d Cir.
2016) (intemal citations and quotations omitted). Elements are sufficiently alleged when the
facts in the complaint “show” that the plaintiff is entitled to relief. Iqbal, 556 U.S. at 679
(quoting Fed. R. Civ. P. 8(a)(2)). Deciding whether a claim is plausible will be a “context-
specific task that requires the reviewing court to draw on its judicial experience and common
sense.” Id.

IV. DISCUSSION

A. Classification/Housing

Nash’s claim regarding his transfer to the Key Program fails to the extent he alleges it
violated his constitutional rights. lt is well established that an inmate does not possess a liberty
interest arising from the Due Process Clause in assignment to a particular custody level or

security classification or a place of confinement See Wilkz‘nson v. Austin, 545 U.S. 209, 221 -22

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(2005) (Constitution does not give rise to liberty interest in avoiding transfer to more adverse
conditions of confinement); Olim v. Wakinekona, 461 U.S. 238, 245 (1983); Meachum v. Fano,
427 U.S. 215, 224-25 (1976). The custody placementh classification of state prisoners within
the State prison system is among the “wide spectrum of discretionary actions that traditionally
have been the business of prison administrators rather than of the federal courts.” Meachum, 427
U.S. at 225. “‘As long as the conditions or degree of confinement to which [a] prisoner is
subjected is within the sentence imposed upon him and is not otherwise violative of the
Constitution, the Due Process Clause does not in itself subject an inmate's treatment by prison
authorities to judicial oversigh .”’ Hewitt v. Helms, 459 U.S. 460, 468 (1983) (quoting Montanye
v. Haymes, 427 U.S. 236, 242 (1976)). See also Sandin v. Conner, 515 U.S. 472, 480 (1995).
Therefore, Nash can succeed under the Due Process Clause only if state law or regulation has
created a constitutionally-protected liberty interest in remaining free from administrative
detention However, neither Delaware law nor Department of Correction regulations create a
liberty interest in a prisoner’s classification within an institution. See 11. Del. C. § 6529(e).
Finally, to the extent Nash seeks to raise classification claims against Dr. August and
Connections, the allegations are conclusory and fall far short of stating constitutional violations

Therefore, the classification claim will be dismissed as legally hivolous pursuant to 28
U.S.C. §§ 1915(e)(2)(B)(i) and 1915A(b)(1).

B. Conspiracy

Nash alleges all the defendants conspired to breach his contract with the State of
Delaware. He also alleges that Dr. August conspired with the defendants in the 2016 action in an

attempt to hurt him mentally and physically. Both claims will be dismissed under § 1983 as

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neither claim alleges a conspiracy to deprive Nash of a federally protected right. They will also
be dismissed under § 1985 and § 1986 as deficiently pled.

To state a conspiracy claim under §1983, Nash must show that “persons acting under
color of state law conspired to deprive him of a federally protected right.” Ridgewood Ba'. Qf
Educ. v. N.E. ex rel. M.E., 172 F.3d 238, 254 (3d Cir. 1999). ln addition, there must be evidence
of actions taken in concert by defendants with the specific intent to violate that right Williams v.
Fedor, 69 F. Supp. 2d 649, 665-66 (M.D. Pa.), aj”d, 211 F.3d 1263 (3d Cir. 2000) (citing Kerr v.
Lyford, 171 F.3d 330, 340 (5th Cir. 1999)). A § 1983 conspiracy claim only arises, however,
when there has been an actual deprivation of a right. Andree v. Ashland Cly., 818 F.2d 1306,
1311 (7th Cir. 1987); see also Dixon v. City of Lawton, 898 F.2d 1443, 1449 (10th Cir. 1990)
(recognizing that deprivation of a right was a necessary predicate to § 1983 conspiracy liability).
Accord Perano v. Township of T ilden, 423 F. App’x 234 (3d Cir. 2011) (unpublished). As
discussed above in the classification section, the complaint does not allege that the defendants
actually deprived Nash of any federally protected right. Hence, the complaint fails to state a
§ 1983 conspiracy claim.

Nash also invokes § 1985 in alleging a conspiracy The Supreme Court has interpreted
the second clause of § 1985(2) and the first part of § 1985(3) similarly, finding that each contains
language “requiring that the conspirators’ actions be motivated by an intent to deprive their
victims of the equal protection of the laws.” Kush v. Rutledge, 460 U.S. 719, 725 (1983). lt is a
well settled constitutional interpretation that “intent to deprive of equal protection, or equal
privileges and immunities, means that there must be some racial, or perhaps otherwise class-
based, invidiously discriminatory animus behind the conspirators’ action.” Ia'. at 726. Nash fails

to state a cause of action for conspiracy under § 1985 as there are no any facts from which one

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could infer an agreement or understanding among the defendants to violate his constitutional
rights based upon a discriminatory animus.

Nash also fails to state a claim under § 1986. A cognizable 42 U.S.C. 1985 claim is a
prerequisite to stating a claim under § 1986. Robison v. Canterbury Vill., Inc., 848 F.2d 424, 431
n. 10 (3d Cir. 1988); Brawer v. Horowitz, 535 F.2d 830, 841 (3d Cir. 1976). Because Nash does
not properly plead a § 1985 violation under any viable legal theory, the court will dismiss the
§ 1986 claim.

l=inally, the cansplracy claim under federal criminal nature 18 U.s.c. § 241 fails. ro the
extent Nash seeks to impose criminal liability upon the defendants pursuant to the criminal
statute upon which he relies, he lacks standing to proceed. See Allen v. Administrative Oyj‘ice of
Pennsylvania Courts, 270 F. App’x 149, 150 (3d Cir. 2008) (unpublished); see United States v.
F/riedlana', 83 F.3d 1531, 1539 (3d Cir. 1996) (“[T]he United States Attorney is responsible for
the prosecution of all criminal cases within his or her distiict.”). The decision of whether to
prosecute, and what criminal charges to bring, generally rests with the prosecutor. See United
States v. Batchela'er, 442 U.S. 114, 124 (1979).

Accordingly, the conspiracy claims will be dismissed as legally frivolous pursuant to 28
U.S.C. §§ 1915(e)(2)(B)(i) and 1915A(b)(1).

C. Retaliation

Nash commenced the 2016 action on October 4, 2016. He alleges retaliation occurred
on February 23, 2018, when his work status was removed just a few days after he received
discovery in the 2016 action and for seeking redress from this court

“Retaliation for the exercise of constitutionally protected rights is itself a violation of

rights secured by the Constitution actionable under § 1983.” White v. Napoleon, 897 F.2d 103,

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111-12 (3d Cir. 1990). To state a claim for retaliation, a prisoner must allege that: (1) he was
engaged in constitutionally protected conduct, (ii) he suffered some adverse action at the hands
of prison officials, and (iii) “his constitutionally protected conduct was ‘a substantial or
motivating factor’ in the decision to take that action.” Rauser v. Horn, 241 F.3d 330, 333 (3d
Cir. 2001) (citation onritted). The causation element requires a plaintiff to prove either: (1) an
unusually suggestive temporal proximity between the protected activity and the allegedly
retaliatory action, or (2) a pattern of antagonism coupled with timing to establish a causal link.
See Lauren W. ex rel. Jean W. v. DeFlamz`nis, 480 F.3d 259, 267 (3d Cir. 2007); Krouse v.
American Sterilizer Co., 126 F.3d 494, 503-04 (3d Cir. 1997).

Even when viewing the facts in the light most favorable to Nash, as pled they do not state
a retaliation claim. .thably, the element of causation is lacking Moreover, it appears that the
IBCC changed Nash’s status. None of the IBCC members are named defendants in this action
and it is unknown if they are named defendants in the 2016 action. Therefore, the claim will be
dismissed for failure to state a claim upon which relief may be granted and as frivolous pursuant
to 28 U.S.C. §§ 1915(e)(2)(B)(i) and (ii) and 1915A(b)(l). However, since it appears plausible
that Nash may be able to articulate a claim against a defendant or name alternative defendants,
he will be given an opportunity to amend his pleading See 0 ’Dell v. United States Gov ’t, 256 F.
App’x 444 (3d Cir. 2007) (unpublished) (leave to amend is proper where the plaintiffs claims do
not appear “patently meritless and beyond all hope of redemption”).

D. Medical Needs

Nash attempts to raise medical needs claims against Connections and Dr. August. The
Eighth Amendment proscription against cruel and unusual punishment requires that prison

officials provide inmates with adequate medical care. Estelle v. Gamble, 429 U.S. 97, 103-105

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(1976). In order to set forth a cognizable claim, an inmate must allege (i) a serious medical need
and (ii) acts or omissions by prison officials that indicate deliberate indifference to that need.
Estelle v. Gamble, 429 U.S. at 104; Rouse v. Plantier, 182 F.3d 192, 197 (3d Cir. 1999). A
prison official is deliberately indifferent if he knows that a prisoner faces a substantial risk of
serious harm and fails to take reasonable steps to avoid the harm. Farmer v. Brennan, 511 U.S.
825, 837 (1994). A prison official may manifest deliberate indifference by “intentionally
denying or delaying access to medical care.” Estelle v. Gamble, 429 U.S. at 104-05.

Nash raises claims against Dr. August and Connection under a medical needs theory.
However, it is clear that what he actually contests is his placement and housing in the Key
Program which he believes will harm him because of his medical condition As discussed
above, the housing/classification claims are not cognizable

Even when reading the Complaint in the most favorable light to Nash, he fails to state an
actionable constitutional claim against the named defendants for deliberate indifference to a
serious medical need. The claims speak to Nash’s classification, not deliberate indifference to a
serious medical need. Moreover, the medical needs claims are conclusory. As currently pled,
the complaint contains fiivolous allegations and fails to state claims for deliberate indifference to
serious medical needs.

Therefore, the claims Will be dismissed pursuant to 28 U.S.C. §§ 1915(e)(2)(B)(i) and (ii)
and 1915A(b)(1). However, since it appears plausible that Nash may be able to articulate a claim
or claims against alternative defendants, he Will be given an opportunity to amend the claims.

E. Grievances

Nash alleges that Akinbayo ignored his complaints and that Grose failed to enforce a

prior “infonnal resolution.” To the extent that Nash bases his claims upon his dissatisfaction

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with the grievance procedure, the claim fails because an inmate does not have a “free-standing
constitutionally right to an effective grievance process.” Wooa’s v. First Corr. Med., Inc., 446 F.
App’x 400, 403 (3d Cir. 2011) (unpublished) (citing F lick v. Alba, 932 F.2d 728, 729 (8th Cir.
1991)). Notably, the denial of grievance appeals does not in itself give rise to a constitutional
claim as Nash is free to bring a civil rights claim in District Court. Winn v. Department of Corr.,
340 F. App’x 757, 759 (3d Cir. 2009) (unpublished) (citing Flick v. Alba, 932 F.2d at 729).
Finally, Nash has not stated a claim for constitutional violation through his conclusory
allegations allegation that Grose had a duty to enforce all prior grievances

To the extent Nash raises a grievance claim against Akinbayo, his participation in the
after-the-fact review of a grievance or receipt of letters is not enough to establish personal
involvement See, e.g., Brooks v. Beara', 167 F. App’x 923, 925 (3d Cir. 2006) (unpublished)
(allegations that prison officials and administrators responded inappropriately to inmate’s later-
filed grievances do not establish the involvement of those officials and administrators in the
underlying deprivation). Wilson v. Horn, 971 F. Supp. 943, 947 (E.D. Pa. 1997), a]j‘”’a', 142 F.3d
430 (3d Cir. 1998) (prison officials’ failure to respond to inmate’s grievance does not state a
constitutional claim).

Nash cannot maintain a constitutional claim based upon his perception that his grievances
were not properly processed, that they were denied, or that the grievance process is inadequate
Therefore, the Court will dismiss the claims as frivolous pursuant to 28 U.S.C. § 1915(e)(2)(B)(i)
and § 1915A(b)(1).

F. Respondeat Superior

It is evident from the allegations that Nash has named Akinbayo as a defendant based

upon his supervisory positions lt is well established that claims based solely on the theory of

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respondeat superior or supervisor liability are facially deficient See Ashcroft, 556 U.S. at 676-
77; see also Solan v. Ranck, 326 F. App’X 97, 100-01 (3d Cir. 2009) (unpublished) (“[a]
defendant in a civil rights action must have personal involvement in the alleged wrongs; liability
cannot be predicated solely on the operation of respondeat superior”).

The complaint alleges the warden of the facility has “veto powers” over all classified
programs. The allegation speaks to Akinbayo’s supervisory position. In addition, Nash takes
exception to his prison classification As discussed, his constitutional rights were not violated
when he received a new classification Nash’s claims rest impermissibly upon a theory of
supervisory liability and, therefore, the claims against Akinbayo will be dismissed as H‘ivolous
pursuant 28 U.S.C. § 1915(e)(2)(B)(i) and § 1915A(b)(1).

G. Breach of Contract

Finally, the complaint does not allege breach of contract, to the extent that is Nash’s
intent. The complaint alleges that Nash entered into a contract with the State of Delaware and
the DOC at tlle HRYCI. Nash alleges that the defendants breached the contract.

lt is far from clear that an informal resolution is a contract Nonetheless, the breach of
contract claim fails given that the complaint alleges that the defendants breached the contract
None of the defendants are parties to the contract Basic contract principles recognize that a
person not a party to a contract cannot be held liable to it. See Vichi v. Koninklijke Philips Elec.
N. V., 62 A.3d 26, 59 (Del. Ch. 2012). The claim is frivolous and will be dismissed pursuant to
28 U.S.C. § 1915(e)(2)(B)(i) and § 1915A(b)(1).

V. CONCLUSION
For the above reasons, the court will dismiss the complaint as frivolous and for failure to

state claims upon which relief may be granted pursuant to 28 U.S.C. §§ 1915(e)(2)(B)(i) and (ii)

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and 1915A(b)(l). All the defendants will be dismissed Nash will be given leave to amend the

retaliation and medical needs claims All other claims are dismissed with prejudice

An appropriate order Will be entered ij

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